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                              EXHIBIT 5
peppercorn                     Case: 1:18-cv-03632 Document #: 1-5 Filed:https://web.archive.org/web/20160128164034/http://www.pepper...
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          http://www.peppercornskitchen.com/
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                                                                                     In   2011 UNESCO   ,                    declared


                                                                                               Szechuan to be
                                                                                     the capital city of

                                                                                     a city of gastronomy in
                                                                                     order to recognize the sophistication of its
                                                                                     cooking.




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                                                              Y                           SZECHUAN BASIN
                                                                                           
                                                              盆地                          The    Sichuan        Basin   (Chinese:   四川盆地),
                                                                                          or Szechwan Basin, is a lowland region in
                                                                                          southwestern China.the Sichuan basin also
                                                                                          constitutes       a   cultural   sphere   that     is
                                                                                          distinguished by its own unique customs,
                                                                                          cuisine, and dialects. It is also called the "Red

                                                                                          Basin." The       humid subtropical climate
                                                                                          and concentrated rainfall in summer time has

                                                                                          madepepper an essential
                                                                                          ingredient in local cusine.




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